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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  STEPHANIE CLIFFORD                                                 2:18−cv−02217−SJO−FFM
                                                   Plaintiff(s),

           v.
  DONALD J. TRUMP, et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         4/3/2018
  Document Number(s):                 33
  Title of Document(s): Proof of Service (subsequent documents) by plaintiff ( pdf is re
  first amended complaint)
  ERROR(S) WITH DOCUMENT:

  Incorrect event selected. Correct event to be used is: Correct event to be used is: and Service of summons and
  complaint returned executed 21 days.




  Other:

  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                  Clerk, U.S. District Court

  Dated: April 3, 2018                            By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                     Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge



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Case 2:18-cv-02217-SJO-FFM                Document
     Please refer to the Court’s website at            23 Filedfor04/03/18
                                            www.cacd.uscourts.gov               Page 2Orders,
                                                                   Local Rules, General of 2 and
                                                                                              Page    ID #:362
                                                                                                 applicable forms.




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